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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 21-6104 CAS (KS) Date: October 8, 2021
Title Sarah Schwab Kinney v. Kilolo Kijakazi

 

 

Present: The Honorable: Karen L. Stevenson, United States Magistrate Judge

 

 

 

Gay Roberson N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiff: Attorneys Present for Defendant:

Proceedings: (INCHAMBERS) ORDER TO SHOW CAUSE WHY THE
COMMISSIONER’S DECISION SHOULD NOT BE REVERSED AND
REMANDED DUE TO DEFENDANT?’S FAILURE TO APPEAR

On July 28, 2021, Plaintiff, proceeding in forma pauperis and with counsel, filed a
Complaint seeking review of a decision by the Commissioner of the Social Security
Administration pursuant to 42 U.S.C. § 405(g). (Dkt. No. 1.) On August 3, 2021, the Court issued
its scheduling order concerning procedures in a social security appeal. (Dkt. No. 9.) That Order
directed Plaintiff to file a proof of service within 30 days, i.e., no later than September 2, 2021,
and the Commissioner to file either a consent to proceed before the assigned magistrate judge or a
notice of appearance within 30 days of service of the action. (/d.)

On August 17, 2021, Plaintiff filed a proof of service indicating that, on August 9, 2021,
counsel had mailed the summons and a copy of the complaint by certified mail to the following:
Office of the Regional Chief Counsel, Region IX, Social Security Administration; the Attorney
General of the United States; and the Civil Process Clerk for the U.S. Attorney of the Central
District of California. (Dkt. No. 10.) Counsel attached as exhibits the certified mail receipts and
a copy of a tracking report indicating that the items were delivered to the California recipients on
August 11, 2021 and to the Attorney General in Washington, DC on August 16, 2021. (Dkt. Nos.
10-1, 10-2.) However, to-date, Defendant has failed to file a notice of appearance or consent.

Nearly a month has passed since Defendant’s deadline for filing a notice of appearance or
consent and Defendant has failed to file either one—or otherwise communicate with the Court
about this case. Accordingly, IT IS HEREBY ORDERED that, no later than October 29,
2021, Defendant shall SHOW CAUSE why the Court should not recommend that the

 

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Commissioner’s decision in this action should not be immediately reversed and the matter
remanded for further consideration. To discharge this Order to Show Cause, Defendant shall file
one of the following no later than the October 29, 2021 deadline:

(1) A notice of appearance;
(2) Consent to proceed before the assigned magistrate judge; or
(3) A stipulation for remand.

Defendant’s failure to timely comply with this Order may result in a recommendation of
immediate reversal and remand for further consideration.

IT IS SO ORDERED.

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